Case 2:17-cv-05753-AB-JC Document 7 |Filed 08/04/17 Pagelof1 Page ID #:25
Todd M. Friedman, Esq.
Law Offices of Todd M. Friedman, P.C.
21550 Oxnard St., Suite 780
Woodland Hills, CA 91367
Phone: 877-206-4741
Fax: 866-633-0228

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
TERRY FABRICANT, individually and on behalf of | casE NUMBER
all others similarly situated,
2:17-cv-5753-AB-JC

PLAINTIFF(S)
V.

FAST ADVANCE FUNDING, LLC; and DOES 1
through 10, inclusive,

 

SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S): FAST ADVANCE FUNDING, LLC; and DOES 1 through 10, inclusive,

 

A lawsuit has been filed against you.

Within__21 days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached © complaint O amended complaint
LJ counterclaim UD) cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, Todd M. Friedman , whose address is

 

Law Offices of Todd M. Friedman, 21550 OxnardSt, Suite780 WoodlandHills, CA 91367 __ If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

 

Dated: 8/4/2017 By: _G.HUNT
Deputy Clerk

 

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-01A (12/07) SUMMONS
